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                          UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION


    IN RE BROILER CHICKEN ANTITRUST             No. 16 C 8637
    LITIGATION
                                                Judge Thomas M. Durkin


                         MEMORANDUM OPINION AND ORDER

        Purchasers of chicken meat (a product known as “Broilers”) allege that Broiler

producers conspired to raise prices in violation of the Sherman Act. At the outset of

the case, the Court appointed interim class counsel for three classes of purchasers:

(1) direct purchasers (the “Directs”); (2) commercial and institutional indirect

purchasers (the “Indirects”); and (3) end-user consumers (the “End Users”; and all

three classes together, the “Plaintiffs”). Each class has moved for certification

pursuant to Federal Rule of Civil Procedure 23. Plaintiffs rely on expert opinions to

support their motions, and Defendants have moved to exclude those experts pursuant

to Federal Rule of Evidence 702 and Daubert. Defendants also produced an expert

witness, but Plaintiffs have not moved to exclude his testimony. The Court held a

two-day hearing on May 10-11, 2022, and heard testimony from the parties’ experts.

See R. 5624; R. 5625. 1 This opinion addresses all three classes’ motions for



1 The Directs’ expert is Dr. Colin A. Carter. He has degrees from the University of
California at Berkeley and is a Professor of Agricultural and Resource Economics at
the University of California. The Indirects’ expert is Dr. Russell W. Mangum III. He
earned masters and doctoral degrees from the University of Southern California and
is a Senior Vice President at Nathan Associates, Inc., an economic consulting firm.
The End Users’ expert is Dr. David L. Sunding. He has degrees from the University
of California at Berkeley and is President of The Brattle Group. Defendants’ expert
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certification and Defendants’ corresponding Daubert motions. For the following

reasons, Defendants’ Daubert motions are denied, and Plaintiffs’ motions for class

certification are granted.

                                       Analysis

      The Court may certify a class of plaintiffs pursuant to Federal Rule of Civil

Procedure 23(a) if:

             (1) the class is so numerous that joinder of all members is
             impracticable;
             (2) there are questions of law or fact common to the class;
             (3) the claims or defenses of the representative parties are
             typical of the claims or defenses of the class; and
             (4) the representative parties will fairly and adequately
             protect the interests of the class.

Additionally, Plaintiffs in this case seek certification under Rule 23(b)(3), which

requires them to demonstrate that: (1) “the questions of law or fact common to class

members predominate over any questions affecting only individual members”; and

(2) “that a class action is superior to other available methods for fairly and efficiently

adjudicating the controversy.”

      Plaintiffs bear the burden of satisfying Rule 23, which is not “a mere pleading

standard.” Comcast Corp. v. Behrend, 569 U.S. 27, 33 (2013). To meet this burden,

Plaintiffs must “satisfy through evidentiary proof” each of Rule 23’s elements. Id. In




is Dr. John H. Johnson, IV. He has a Ph.D. in economics from the Massachusetts
Institute of Technology and is CEO of Edgeworth Economics, LLC. The experts
prepared the following reports: Carter’s report, R. 3990-122; Carter’s rebuttal report,
R. 4505; Mangum’s report, R. 3985-8; Mangum’s rebuttal report, R. 4493-3; Sunding’s
report, R. 3971-4; Sunding’s rebuttal report, R. 4487-3; Johnson’s report, R. 4209-1,
R. 4234-2, R. 4213-4; Johnson’s rebuttal report R. 4275-9.
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deciding a class certification motion, the Court must conduct a “rigorous analysis”

before it can determine whether Plaintiffs have satisfied Rule 23’s requirements. Id.

This often means that a Court must resolve issues that also bear on the merits of the

claim, but only if those issues “overlap” with class certification issues. Id. at 33-34.

Despite the need for rigorous analysis, “the court should not turn the class

certification proceedings into a dress rehearsal for a trial on the merits.” Messner v.

Northshore Univ. HealthSystem, 669 F.3d 802, 811 (7th Cir. 2012). Instead, the Court

need only consider the evidence submitted by the parties and determine whether

Plaintiffs have proven each of Rule 23’s elements by a preponderance of the evidence.

Id.

      The proposed class definitions are as follows. For the Directs:

             All persons who purchased raw Broilers [directly] from any
             of the Defendants or their respective subsidiaries or
             affiliates either fresh or frozen, in the form of: whole birds
             (with or without giblets), whole cut-up birds, or parts
             (boneless or bone in) derived from the front half of the
             whole bird, for use or delivery in the United States from
             December 1, 2008 until July 31, 2019.

R. 3990 at 26. For the Indirects:

             All entities that purchased Broilers indirectly from a
             Defendant or named co-conspirator in an Indirect
             Purchaser State 2 for their own use in commercial food
             preparation from January 1, 2009, until July 31, 2019.


2The “Indirect Purchaser States” are: Arizona, California, the District of Columbia,
Florida, Hawaii, Iowa, Illinois, Kansas, Massachusetts, Maine, Michigan, Minnesota,
Missouri, Mississippi, Montana, North Carolina, North Dakota, Nebraska, New
Hampshire, New Mexico, Nevada, New York, Oregon, Rhode Island, South Carolina,
South Dakota, Tennessee, Utah, Vermont, Wisconsin, or West Virginia. The Indirects
seek damages for this class under the respective state laws. The Indirects also seek
certification of a class for nationwide injunctive relief under federal law.
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              Excluded from the [Indirect] class are: Natural persons
              who purchased Broilers for their personal use and not for
              commercial food preparation; purchases of Broilers directly
              from Defendants; purchases of Broilers for resale in
              unaltered form; purchases or Broilers from an
              intermediary who has further processed the Broiler; the
              Defendants; the officers, directors or employees of any
              Defendant; any entity in which any Defendant has a
              controlling interest; and any affiliate, legal representative,
              heir or assign of any Defendant; any federal, state
              governmental entities, any judicial officer presiding over
              this action and the members of her/her immediate family
              and judicial staff, any juror assigned to this action; and any
              co-conspirator identified in this action.

R. 3968 at 2-3. And for the End Users:

              All persons and entities who indirectly purchased the
              following types [of] raw chicken, whether fresh or frozen:
              whole birds (with or without giblets), whole cut-up birds
              purchased within a package, breast cuts or tenderloin cuts,
              but excluding chicken that is marketed as halal, kosher,
              free range, organic, diced, minced, ground, seasoned,
              flavored or breaded—from defendants or co-conspirators
              for personal consumption in the Repealer Jurisdictions 3
              from January 1, 2012 to July 31, 2019.

R. 3971 at 6. 4




3 The “Repealer Jurisdictions” are: California, District of Columbia, Florida, Hawaii,
Illinois, Iowa, Kansas, Maine, Massachusetts, Michigan, Minnesota, Missouri,
Nebraska, Nevada, New Hampshire, New Mexico, New York, North Carolina,
Oregon, Rhode Island, South Carolina, South Dakota, Tennessee, Utah, and
Wisconsin. The End Users seek damages for this class under the respective state
laws.
4The Court notes that the End Users seek certification of a class that is narrower in
scope, both substantively and temporally, than the classes sought by the Directs and
Indirects, and narrower than the classes the Court has approved in settlements the
End Users have reached with certain defendants. The Court ordered a brief
explaining this change, which the End Users provided. See R. 5569. Bottom line, the
End Users believe their proof more closely fits a narrower class. See id. at 1.
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I.    Numerosity, Adequacy, Commonality & Typicality

      Other than arguments about certain class representatives and the application

of state laws, Defendants generally do not challenge whether the Plaintiffs have met

their burden to establish the four elements of Rule 23 subsection (a). That is likely

because those elements are easily met in this case.

      A.     Numerosity

      Defendants have produced electronic sales data identifying thousands of direct

purchases of Broilers. See R. 3990-122 at 106 (¶ 173) (the Directs’ expert used a data

set containing 5,918 customers). The Indirects’ class includes nearly every entity in

the United States that serves chicken to individuals, whether for profit or otherwise,

including restaurants, deli-counters, schools, hospitals, airlines, casinos, etc. See R.

3985-8 at 127-29 (¶¶ 230-32). The End User class includes nearly every individual

consumer of chicken in the United States. See R. 3971 at 6. Joinder of this many

plaintiffs would be impractical, and so the numerosity requirement is satisfied here

for all three classes. See Anderson v. Weinert Enterprises, Inc., 986 F.3d 773, 777 (7th

Cir. 2021) (“Our cases have recognized that a forty-member class is often regarded as

sufficient to meet the numerosity requirement.”). Defendants do not dispute this.

      B.     Adequacy

      Adequacy is a two-part test: (i) the class representatives must not have claims

in conflict with other class members, and (ii) the class representatives and proposed




Defendants do not argue that this narrowing undermines any of the motions for class
certification, so the Court has not focused on its significance in addressing them.
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class counsel must be able to litigate the case vigorously and competently on behalf

of named and absent class members alike. See Kohen v. Pac. Inv. Mgmt. Co. LLC, 571

F.3d 672, 679 (7th Cir. 2009).

      Defendants do not challenge the adequacy of class counsel. In approving

several class settlements, the Court has already found that counsel for each class has

more than adequately represented the class and will continue to do so moving

forward. See, e.g., R. 1414 at 2 (Directs); R. 5536 at 3 (Indirects); R. 5304 at 3 (End

Users). Defendants do not argue otherwise.

      Defendants also do not dispute that the class representatives for all three

classes assert claims arising from Defendants’ alleged conspiracy to raise prices. The

class representatives for the Directs and Indirects have submitted declarations

stating that they share with their respective classes a strong interest in establishing

Defendants’ liability and maximizing class-wide damages. See R. 3962-39 ¶¶ 3-5

(Directs); R. 3968-8, -9 (Indirects). It does not appear that similar declarations were

submitted by the representatives for the End User class. But there is no evidence in

the record indicating that the representatives’ interests are not aligned with the class

as a whole for purposes of this litigation. See R. 3971 at 22.

             1.     Indirects’ Class Representatives

      Defendants argue that two representatives for the Indirects’ class are

inadequate for reasons specific to their circumstances. First, Defendants argue that

Figaretti’s Restaurant cannot represent the West Virginia class because it never

purchased Broilers in West Virginia, and West Virginia’s antitrust law, according to



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Defendants, requires intrastate commerce. See R. 4234 at 57-58. In support of this

argument, Defendants cite a single sentence from a 40-year-old federal district court

case stating that “West Virginia’s antitrust law is directed towards intrastate

commerce.” See Anziulewicz v. Bluefield Cmty. Hosp., Inc., 531 F. Supp. 49, 53

(S.D.W. Va. 1981). But the court in Anziulewicz was not concerned with applying the

elements of the West Virginia statute to the merits of a claim. Its statement was made

in the context of distinguishing West Virginia law from federal antitrust law in order

to decide whether a claim under the West Virginia statute arose under federal law

for purposes of removal from state court. That court’s statement in dicta is of little

relevance here.

      Furthermore, this Court’s examination of the West Virginia statute finds no

requirement of “intrastate” commerce, or that the conduct alleged occur entirely

within West Virginia. The statute prohibits “restraint of trade or commerce in this

State,” and “a monopoly of trade or commerce, any part of which is within this State.”

W. Va. Code Ann. §§ 47-18-3, -4. Absent more definitive authority from a higher court,

this Court finds the West Virginia statute does not apply solely to conduct taking

place entirely within West Virginia, but also applies to interstate commerce affecting

West Virginia. Defendants do not dispute that Figaretti’s was located in West

Virginia when it purchased Broilers from sellers outside West Virginia and then had

them delivered in West Virginia. Thus, “part” of the commerce was in West Virginia.

      Defendants also argue that Sargent’s is an inadequate class representative

because one of Sargent’s owners testified that Sargent’s was represented not only by



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class counsel, but also by separate individual counsel, who happened to be her son.

Sargent’s owner’s son is not class counsel in this case. There is no evidence before the

Court, including Sargent’s owner’s deposition testimony cited by Defendants, that her

son will share in any recovery in this case. The case law Defendants cite concerns

much more formal agreements between class representatives and related counsel

sharing in the class recovery. The Court finds that Sargent’s owner’s son providing

advice to his parents regarding their business does not raise an analogous appearance

of impropriety necessary to find Sargent’s inadequate as a class representative.

             2.     End Users’ Class Representatives

      Defendants raise several issues with respect to the adequacy of the End Users’

class representatives. First, Defendants argue that Kansas representatives, Leslie

and David Weidner, are inadequate because they are close friends with attorney

Emily Levens, a partner at Cohen Milstein, co-counsel for the End Users. Levens,

however, has not entered an appearance in this case, and the End Users represent

that she has only worked on the case for one week and does not participate in

settlement negotiations. Considering Levens’s limited participation in this case, and

the fact that the Weidners are two of more than 24 End Users class representatives,

the Court finds that this friendship is not sufficient to raise suspicion that the

Weidners will favor Cohen Milstein’s compensation over the class’s recovery. See

Susman v. Lincoln Am. Corp., 561 F.2d 86, 93-95 (7th Cir. 1977) (it is within the

district court’s discretion to find a class representative inadequate where there is a

“possibility that one so situated will become more interested in maximizing the



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‘return’ to his counsel than in aggressively presenting the proposed class action”); see

also Armes v. Shanta Enter., Inc., 2009 WL 2020781, at *3 (N.D. Ill. July 8, 2009).

      Defendants also contend that some of the End Users’ class representatives are

inadequate because their purchasing habits were atypical. See R. 4213 at 57-59. But

while these individuals may have sometimes made purchases of chicken products

outside the class definition, the End Users have presented evidence that they all also

made purchases that are within the class definition. See R. 4487 at 5-7. Thus, the

Court finds them to be adequate class representatives. 5

      C.     Commonality

      Commonality requires plaintiffs to show that resolution of an issue of fact or

law “is central to the validity of each” class member’s claim; “[e]ven a single [common]

question will do.” Wal-Mart Stores, Inc. v. Dukes, 564 U.S. 338, 359 (2011). Here, the

question of whether Defendants illegally conspired to restrict supply and increase the

price of Broilers is common to each class, as are questions about the nature of the

conspiracy, whether the conspiracy caused the price increase, and what is the

appropriate measure of damages. See, e.g., In re Steel Antitrust Litig., 2015 WL

5304629, at *3 (N.D. Ill. Sept. 9, 2015); In re Ready-Mixed Concrete Antitrust Litig.,




5Defendants also argue that their expert has shown that Publix grocery did not suffer
overcharges, and so any consumer who made purchases at Publix cannot be an
adequate class representative. See R. 4213 at 57. Defendants similarly argue that the
Indirects’ class definition is overbroad because it “sweeps” in indirect purchasers who
were not overcharged according to their expert’s statistical analysis. The Court
rejects these arguments for reasons discussed below regarding Defendants’
arguments that Plaintiffs’ experts improperly “pool” transaction data.
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261 F.R.D. 154, 168 (S.D. Ind. 2009). Thus, the element of commonality is present in

this case.

      D.     Typicality

      Finally, the element of typicality is satisfied because Plaintiffs allege that

Defendants engaged in a common scheme relative to all members of the class to

restrict the supply of Broilers. See In re Steel, 2015 WL 5304629, at *4 (“[T]he claims

of each named representative and class members are based on the same legal theory

and arise from the same course of conduct (i.e. conspiring to restrict steel supply);

therefore, typicality is satisfied[.]”); In re Ready-Mixed, 261 F.R.D. at 168 (“Typicality

in the antitrust context will be established by plaintiffs and all class members

alleging the same antitrust violation by the defendants.”).

      Defendants argue that the Indirects fail to demonstrate typicality because the

class representatives have small market shares relative to “the massive chains and

resorts included in the Proposed Class.” R. 4234 at 56. Defendants contend that the

differences in market share create “bargaining power and purchase volume

disparities” such that the class representative’s claims are not typical of the class.

      But Plaintiffs in this case do not allege that Defendants agreed to set a floor

for prices in bargained negotiations. Rather, Plaintiffs allege that Defendants

restricted supply across the market in order to boost prices of a commodity.

Bargaining power is not directly relevant to the claims.

      The cases Defendants cite reveal the faults in their argument concerning

bargaining power. See In re Graphics Processing Units, 253 F.R.D. 478, 489 (N.D. Cal.



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2008); In re Optical Disk Drive, 303 F.R.D. 311, 317 (N.D. Cal. 2014). Both Graphics

Processing and Optical Disk involve allegations that technology manufacturers

agreed to fix prices of both wholesale and direct internet retail sales. The courts in

those cases limited certification to classes of retail customers because those prices

were set unilaterally by the manufacturers on a take-it-or-leave-it basis. By contrast,

the wholesale buyers in those cases negotiated their prices, with the prices ultimately

being a product of the buyers’ purchasing power.

      Certainly, the Broiler market is also made up of buyers with varying degrees

of bargaining power. But unlike the markets for the technology products at issue in

Graphics Processing and Optical Disk, the Broiler market is heavily influenced by

market price indices. Bargaining power may affect the prices ultimately paid by a

particular plaintiff. But all participants in a commodity market exercise their

bargaining power—regardless of strength—in the context of the market price, which

is viewed by the industry as an objective reflection of value. No such market prices

exist for the technologies at issues in Graphics Processing and Optical Disk. In those

cases and markets, after costs of production, the parties’ negotiations were entirely

determinative of the ultimate price, and the strength of bargaining power was a

significant factor in negotiations. That is why the courts in those cases carved out

classes of retail customers. They, unlike the wholesale buyers, had no opportunity to

negotiate, making the price fixing agreement among the manufacturers the primary

factor setting the price. By contrast, the allegation here is that Defendants fixed a

market price that was the starting point for negotiations across the market,



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regardless of a purchaser’s bargaining power. Thus, differences in bargaining power

do not undermine typicality in this case.

II.   Predominance

      Having found that all three classes satisfy the elements of subsection (a) of

Rule 23, the Court proceeds to address subsection (b). Rule 23(b)(3) requires that

“questions of law or fact common to class members predominate over any questions

affecting only individual members.” “Predominance is satisfied when common

questions represent a significant aspect of a case and . . . can be resolved for all

members of a class in a single adjudication.” Kleen Prod. LLC v. Int’l Paper Co., 831

F.3d 919, 925 (7th Cir. 2016).

      In this case, the two primary common questions are: (1) whether Defendants

engaged in a conspiracy to reduce supply to increase price; and (2) whether this

conspiracy caused Plaintiffs to suffer injury. See Kleen, 831 F.3d at 925 (“[T]he court

evaluated the two central elements of the Purchasers’ case: the alleged violation of

the antitrust laws, and the causal link between that violation and their alleged

injury.”); Messner, 669 F.3d at 815 (“[P]laintiffs [must] prove: (1) that [the defendant]

violated federal antitrust law; and (2) that the antitrust violation caused them some

injury.”). These questions certainly represent “a significant aspect of the case,” and

as discussed, Defendants do not dispute that they are common to the class.

      Further, with respect to the first question regarding liability, Defendants do

not challenge Plaintiffs’ contention that it can be “resolved for all members of [the]

class in a single adjudication,” and that this question predominates over any



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individual issues. Nevertheless, in the interest of completing a “rigorous analysis,”

see Santiago v. City of Chicago, 19 F.4th 1010, 1020 (7th Cir. 2021), the Court reviews

the evidence of liability for a conspiracy.

       A.     Evidence of Conspiracy

       As can be seen in the chart below (taken from the Directs’ expert’s rebuttal




report, R. 4505 at 74 (Figure 12)), prior to 2008, Broiler production had increased at

a relatively consistent rate for many years. 6 Then, as the two charts on the next page

show in greater detail, production decreased in 2009 and 2012, and between 2008 and

2019, the rate of production increase decreased significantly, before returning to the

rate that had prevailed prior to 2008. See id. at 74 (Figure 12), 84 (Figure 14). This

unusual decrease in production indicates the presence of a conspiracy among

producers for several reasons. Broilers are all generally of the same quality. This

commodity-like nature, combined with consistent demand, make it difficult for an




6The vertical axis refers to “RTC Broilers,” which means “ready to cook,” which simply means the
chicken has been slaughtered and prepared for sale as food.

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individual producer to reduce supply unilaterally. See R. 3990-12 at 30 (¶¶ 40-41),




33-34 n.35 (¶ 49) (Directs’ expert report). Furthermore, the defendant companies own

and operate virtually all of the components of production, including: the breeder




(laying) flocks; hatcheries; feed mills; live broiler inventory; live transportation;

slaughter and other processing plants; and marketing, sales and distribution

activities. This vertical integration makes collusive supply reduction easy to

effectuate. See id. at 75-77 (¶¶ 117-19); Kleen, 831 F.3d at 927. Plaintiffs have also

presented evidence of collusion in the form of the following: communication among

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Defendants about production plans, both public and private, see R. 3990-12 at 52 nn.

98-100 (¶ 80) (citing evidence); sharing of confidential production information

through industry reporter and defendant, Agri Stats, see id. at 53-54 (¶¶ 81-84) (citing

evidence); 7 Defendants’ unusual decisions to destroy breeder hens, see id. at 45-47

(¶¶ 69-72); and evidence that the Georgia Dock Price Index was manipulated, see id.

at 55-58 (¶¶ 87-91).

      Defendants do not address this evidence in their briefs opposing any of the

three class motions. This is likely because this “type of alleged conspiracy is the

prototypical example of an issue where common questions predominate, because it is

much more efficient to have a single trial on the alleged conspiracy rather than

thousands of identical trials all alleging identical conspiracies based on identical

evidence.” Kleen Prod. LLC v. Int’l Paper, 306 F.R.D. 585, 594 (N.D. Ill. 2015) (citing

7AA Wright & Miller, Federal Practice & Procedure § 1781 (3d Ed. 2014) (“[W]hether

a conspiracy exists is a common question that is thought to predominate over the

other issues in the case and has the effect of satisfying the prerequisite in Rule

23(b)(3).”)); see also Amchem Prod., Inc. v. Windsor, 521 U.S. 591, 625 (1997)




7 Agri Stats reported production information for Broiler producers who subscribed to
the service. This information was published with producer names redacted. But
Plaintiffs allege that Agri Stats intended for the information to be easily identified.
Notably, Plaintiffs have discovered a copy of an Agri Stats report from Pilgrim’s for
which the numerical identifiers for each producer were over-written by hand with the
producers’ actual names. See R. 3971-3 at 27 (Figure 2). This evidence indicates
Pilgrim’s was able to de-anonymize the otherwise proprietary and confidential
information of its competitors. Moreover, it is alleged that other supposedly
anonymous data was easily understood by experienced industry players as belonging
to particular producers because of the nature of the data itself.
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(“Predominance is a test readily met in certain cases alleging consumer or securities

fraud or violations of the antitrust laws.”). Whether this evidence is sufficient to

survive summary judgment or to demonstrate liability at trial is not at issue in this

motion. But the evidence is sufficient to establish the first element of predominance,

because the issue of liability “can be resolved for all members of a class in a single

adjudication.” Kleen, 831 F.3d at 925.

       B.     Evidence of Causation

       Defendants primarily focus their opposition to class certification on the

question of whether causation and injury can be demonstrated in a common fashion.

See Comcast, 569 U.S. at 30 (“[Plaintiffs must] show (1) that the existence of

individual injury resulting from the alleged antitrust violation (referred to as

antitrust impact) was capable of proof at trial through evidence that [was] common

to the class rather than individual to its members; and (2) that the damages resulting

from that injury were measurable on a class-wide basis through use of a common

methodology.”). Plaintiffs rely on expert opinion evidence to satisfy their burden on

this issue.

       For expert opinion to be admissible and sufficient to establish elements of class

certification: (1) the expert must be qualified; (2) the expert must apply a scientifically

reliable methodology; and (3) the proffered testimony must “assist the trier of fact

with a fact at issue.” See Smith v. Ford Motor Co., 215 F.3d 713, 718 (7th Cir. 2000)

(citing Daubert v. Merrell Dow Pharms., Inc., 509 U.S. 579 (1993)). Defendants do not

challenge any experts’ qualifications, and the helpfulness of the opinions will be



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apparent from the following discussion. Defendants’ arguments focus entirely on

whether the opinions are reliable.

       Each class has offered at least one expert report. The reports and the opinions

they contain are of course not identical, but they employ largely similar methodology

and reach many of the same conclusions. Accordingly, because the opinions are

overlapping, and Defendants’ criticisms of each is similar, some of the Court’s

analysis of one expert’s opinions and Defendants’ objections will suffice to address

certain aspects of the other experts’ opinions and how Defendants’ objections apply

to all three.

       The theory of injury in this case for all three classes flows from the initial sales

made by Defendants to the Directs, who then make sales to Indirects and/or End

Users, or other entities that eventually sell to Indirects and/or End Users. In other

words, the nature of the distribution chain in the Broiler market (or any market for

that matter) is such that for the Indirects and End Users to have suffered injury, the

Directs must have been injured first. All three classes offer expert opinion evidence

in an effort to establish this primary injury.

       All three experts’ opinions include two primary steps: first, a method to identify

the period when a conspiracy might have been in effect by identifying significant

decreases in Broiler production; and second, regression analysis to determine

whether factors other than a conspiracy could have caused the supply decrease by

analyzing what Broiler prices would have been “but for” the conspiracy. While they

take somewhat different approaches to both questions, all three experts conclude that



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a conspiracy to restrict Broiler supply caused Broiler prices to increase and that this

can be shown by evidence common to the class. The Court will evaluate all three

experts’ opinions to determine the reliability of their methods under Rule 702 and

their sufficiency as evidence of causation and damages for purposes of class

certification. In the end, the Court finds that the testimony of each expert is reliable,

and each independently provides sufficient evidence to show that evidence of

causation and injury is common to their respective classes.

             1.     Identifying the Class Period

                    a.     Structural Break Test – Carter

      The Directs’ expert, Dr. Colin A. Carter, used a “structural break test” to

identify the class period. 8 According to Carter, the structural break methodology “is

widely accepted in the academic literature and class certification litigation.” R. 4505

at 50-51 (¶¶ 94-96). He explains that a “structural break analysis is an econometrics

methodology used to simultaneously determine whether and when there exists an

unusual break in a long-term statistical relationship.” R. 4505 at 50 (¶ 95). Here,

Carter applied this analysis to identify significant changes in Broiler supply over

time. Id.; see also R. 3990-12 at 106-07 (“The structural break analysis

simultaneously answers two questions: (i) was there a change in the pattern or




8Defendants do not challenge Carter’s, or any of Plaintiffs’ experts’, credentials or
qualifications.
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growth in [supply] over the period of analysis, and (ii) if so, when was the most likely

date on which this change occurred.”).

      Carter’s analysis confirms what is readily apparent from the data (pictured in

charts and discussed above on pages 13-14)—after steady increases since at least

1960, Broiler supply decreased in 2008 and 2012, and the rate of supply increase

decreased between 2008 and 2019 relative to the historical trend from 2000 to 2020.

This data is the foundation of Plaintiffs’ claims, and the Court focused on this

apparently anomalous occurrence in denying Defendants’ motions to dismiss and

finding that Plaintiffs had plausibly alleged Defendants violated the Sherman Act.

See R. 541 at 30-33 (In re Broiler Chicken Antitrust Litig., 290 F. Supp. 3d 772, 793-

95 (N.D. Ill. 2017)). From the Court’s perspective—which has not changed upon

reviewing the briefing on these motions and hearing the testimony—this case is about

determining whether collusive conduct by Defendants caused this historic decrease

in Broiler production.

      Defendants do not genuinely dispute the fact that the rate of Broiler production

decreased significantly between 2008 and 2019, relative to historical trends. They

also do not dispute that structural break analysis is a widely used and reliable

methodology.

      To be sure, Defendants assert that Carter’s structural break analysis is

“fundamentally unreliable.” R. 4209 at 27. But they do not actually attack his method.

Instead, their arguments boil down to the contention that an analysis of the total

supply of Broilers in the market over time is irrelevant to the claims in this case. This



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contention also infects Defendants’ later criticism of Carter’s and the other experts’

regression analyses of market price during the class period, and it is one the Court

rejects.

       Defendants’ expert, Dr. John H. Johnson, criticizes Carter’s structural break

test for analyzing the supply of Broilers in the market as a whole without regard to

whether the overall market production statistics are reflected in production by each

individual defendant. Johnson’s analysis shows that not all defendants cut supply to

the same extent or even at all. See R. 4209-1 at 4 (Exhibit 1). In his opinion, to the

extent there were “structural breaks” in any individual defendant’s production, they

do not match the breaks identified by Carter. See id. at 86-88 (¶¶ 128-29) (Exhibit

16). As Defendants put it, “some Defendants cut, some grew, and some stayed the

same.” R. 4209 at 29.

       But as the Court explained in denying the motion to dismiss, evidence that

Defendants did not identically manage their Broiler production during the class

period does not eliminate the plausibility of the claim that they colluded to decrease

supply. See R. 541 at 26-28 (In re Broiler Chicken, 290 F. Supp. 3d at 791-92). True,

it can reasonably be argued that this is evidence that at least some defendants were

not part of the conspiracy, or even that there was no conspiracy at all. But that is an

argument for summary judgment or trial. Such evidence does not conclusively show

a lack of a conspiracy to decrease supply and increase the market price such that

Carter’s opinion should be rejected or class certification denied. Using overall market

trends as opposed to isolated defendant conduct is a reasonable approach because



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fundamental economic theory says that market supply directly affects the market

price. Whether all Defendants’ actions were precisely in lock step does not change the

fact that supply decreased in historically unusual fashion from 2008 to 2019. Carter

demonstrates that this decrease in supply is statistically significant. The fact the

Johnson may be able to demonstrate that certain defendants had greater or lesser

responsibility for the market movement does not change the fact that there is

evidence that market supply decreased as Plaintiffs allege and Carter confirms. And

thus, it is not a reason to reject Carter’s opinion or deny class certification.

      Defendants also argue that Carter’s analysis is too “simple” and improperly

“imagin[es] that the supply ‘trend’ from 2000 to 2008 would continue indefinitely . . .

without an ounce of reality.” R. 4209 at 27. But the fact that the “structural breaks”

in Broiler supply are readily apparent, or “simple” as Defendants put it, does not

cause the Court to question Carter’s method. Quite the contrary, the Court would be

more inclined to reject Carter’s analysis if it showed that the decrease in supply

between 2008 and 2019 was statistically insignificant. The “reality” is that when the

period of production rate decrease ended in 2019, Broiler production returned to the

rate that had prevailed prior to 2008. The fact that Carter’s structural break test

confirms the simple reality that is apparent to the naked eye is a reason to find his

analysis credible and persuasive, not to reject it.

      Further, the Court cannot take seriously Defendants’ argument that the

decrease in supply is “imagined” or contrary to “reality,” because Defendants go to

great lengths to identify a cause for that very decrease in supply that does not legally



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implicate them. Defendants argue that the decrease in supply is a product of natural

economic factors—what Johnson dubs the “perfect poultry storm.” See R. 4209-1 at

33. Johnson believes that legislation causing an increase in feed prices, the impact of

the Great Recession, and the bankruptcy of defendant Pilgrim’s Pride—at the time,

the industry’s largest producer—are the real causes for the decrease in supply. Id.

Citing Johnson’s report, Defendants criticize Carter’s structural break analysis of the

class period arguing that he fails to consider these non-collusive potential causes. See,

e.g., R. 4209 at 28 (“Dr. Carter ignores factors like corn prices and the Great Recession

because they would bust his model—and force him to consider, and factor out, entirely

lawful reasons for supply reductions that occurred.”); id. at 78 (“Pilgrim’s bankruptcy

and restructuring [was] the driver of the supposed ‘structural break’ in industry-wide

production.”).

      But nowhere does Carter state that his structural break test is intended to

identify a cause of the decrease in the rate of production. It is simply intended to

confirm whether the readily apparent decrease is truly statistically significant, such

that it makes sense to investigate its cause in the first place. Carter thoroughly

considers alternative causes in the regression analysis that makes up the second part

of his analysis. But the structural break test is not intended to identify causes,

collusive or otherwise. So, the fact that Carter did not consider non-collusive causes

at that point in his analysis is not a reason to find his method unreliable.

      There is some visceral appeal to Defendants’ contention that the Pilgrim’s

bankruptcy is the true cause of the significant decrease in production in 2009. The



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argument implies that Pilgrim’s production cuts were required by the bankruptcy

and were out of its control. But according to Carter, Pilgrim’s sought court permission

to close certain production facilities. See R. 5624 at 101:3-10. And Defendants have

presented no evidence that this was Pilgrim’s only option to resolve its bankruptcy.

Furthermore, as Carter testified, Pilgrim’s announced plans to cut production before

it declared bankruptcy, and then closed production facilities after its bankruptcy was

largely resolved. See R. 5624 at 100:20-25.

      Pilgrim’s decision to include production cuts as part of its reorganization is not

inconsistent with Plaintiffs’ allegations of collusion among Defendants. Indeed, the

history and structure of the Broiler production market shows that when a producer

encounters economic distress, other producers are always ready to jump in and fill

the production void. See R. 5624 at 160:12-13, 24 (Mangum, the Indirects’ expert,

testified that in a competitive marketplace “other competitors [should be] watching

to see if [a competitor] stumbles,” and be ready to “step up”). Contemporaneous

statements from market analysts show that the market assumed Pilgrim’s

bankruptcy would not affect its production numbers. See R. 5635-1 at 10-11 (Mangum

testimony). And Pilgrim’s CEO stated that its decision to cut production was not a

product of its bankruptcy but was an effort to manage supply in the market as a

whole. See id. Even if Defendants could conclusively demonstrate that Pilgrim’s

bankruptcy required it to cut production (which they have not shown), Defendants’

argument misses the point that other producers did not take advantage of Pilgrim’s

distress, as historic production statistics and consistent demand for Broilers indicate



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they should have. At bottom, the question of the bankruptcy’s role in Pilgrim’s

production decisions is really a question of intent, which is a factual dispute that is

insufficient to undermine the rest of the evidence supporting certification. Whether

those decisions were, at least in part, because of collusion or were a necessary by-

product of the bankruptcy need not be resolved at this stage of the proceedings.

      Again, Defendants’ argument might have more merit if Broiler production had

ever decreased during past periods of high corn prices, economic recession, or

producer bankruptcy. But as is shown by the chart the Court cited on page 13 above,

Broiler production has been a on steady march upward, since at least 1960, in the

face of wildly fluctuating corn prices and periodic downturns in the national economy.

The chart doesn’t account for producer bankruptcies in particular, but it is safe to

assume Pilgrim’s isn’t the first producer to encounter economic distress. According to

Plaintiffs’ experts, this ever-increasing Broiler production is a function of its

commodity nature and steadily increasing nationwide demand. Even when one

producer struggles with economic conditions, other producers have historically been

able to jump in and satisfy any potential lag in production. Perhaps Defendants are

correct that 2008 was a “perfect storm,” different from previous highs in corn prices

and recessions. But by labeling the conditions of the class period a “perfect storm,”

Defendants are implicitly conceding that it was a “structural break.” Something

happened starting in 2008 that caused a historic decline in the production of Broilers.

Carter’s analysis simply confirms that it makes sense to investigate that cause.




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       As an aside, Defendants insist that Carter’s analysis “violates Comcast.” In

Comcast, 569 U.S. 27, the plaintiffs originally alleged four theories of antitrust

impact, and the plaintiffs’ expert analyzed the impact of all four of those theories of

harm together in concluding that there was evidence of common impact.. The district

court, however, rejected three of the theories. 9 For that reason, the Supreme Court

held that the expert’s opinion, which was based on the combination of all four

theories, no longer “fit” the case and could not support class certification. See id. at

37 (“This methodology might have been sound, and might have produced

commonality of damages, if all four of those alleged distortions remained in the

case.”).

       Defendants argue that Comcast means that “an expert model must isolate the

injury resulting from the alleged wrong—and disaggregate it from other factors,

including lawful conduct.” R. 4209 at 33-34 (quoting Comcast, 569 U.S. at 35 (“[A]

model purporting to serve as evidence of damages in this class action must measure

only those damages attributable to that theory[.]”)). They then conclude that Carter’s

analysis “violates” Comcast because it—in Defendants’ view—fails to account for corn




9 See Behrend v. Comcast Corp., 655 F.3d 182, 216–17 (3d Cir. 2011) (Jordan, J.
concurring) (“[The expert’s] benchmark counties fail in that regard because he
formulated his model at a time when Plaintiffs had four separate theories of antitrust
impact, and so he did not select his benchmark counties to isolate the impact of
reduced overbuilding. He chose them, as one would expect, to reflect the impact of
other conditions in addition to reduced overbuilding. Consequently . . . once the
District Court rejected Plaintiffs’ other theories of antitrust impact—leaving only the
reduced-overbuilding theory—[the expert’s] model no longer fits Plaintiffs’ sole theory
of antitrust impact and, instead, produces damages calculations that are not the
certain result of the wrong.”).
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prices and the Great Recession, among other factors. But Comcast does not impose a

requirement to “disaggregate lawful and unlawful conduct.” Rather, it requires an

expert’s theory of harm to match the plaintiff’s. And even if Comcast imposed the

requirement Defendants describe, Carter’s analysis does not violate it. Carter does

account for market factors like corn prices and the recession, he just does so in his

regression analysis of price. Carter’s method identifies a significant decrease in

supply and, as will be discussed below, a corresponding price increase which he

demonstrates cannot be explained by market factors, like corn prices and the Great

Recession. Unsurprisingly, this analysis neatly fits the Plaintiffs’ claims and theory

of harm. There is no Comcast problem here.

                    b.     Regression Analysis – Mangum

      Instead of Carter’s structural break test, the Indirects’ expert, Dr. Russell W.

Mangum, used a regression analysis to identify the class period. Regression analysis

is a statistical method by which data is organized as dependent and independent

variables—e.g., price changes over time—and is boiled down to a straight line such

that predictions can be made about scenarios outside the data—e.g., what prices will

be in the future. See ATA Airlines, Inc. v. Fed. Exp. Corp., 665 F.3d 882, 890 (7th Cir.

2011) (“[A] linear regression is an equation for the straight line that provides the best

fit for the data being analyzed.”); Manpower, Inc. v. Ins. Co. of Pennsylvania, 732 F.3d

796, 808 (7th Cir. 2013) (“Regression analysis permits the comparison between an

outcome (called the dependent variable) and one or more factors (called independent

variables) that may be related to that outcome.”). Regression analysis is a widely



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accepted method, often used as evidence in litigation, and is commonly used in price-

fixing cases. See Federal Judicial Center, Reference Manual on Scientific Evidence, at

305 (3d ed. 2011) (“[I]n an antitrust cartel damages case, the plaintiff’s expert might

utilize multiple regression to evaluate the extent to which the price of a product

increased during the period in which the cartel was effective, after accounting for

costs and other variables unrelated to the cartel.”). Courts generally reject the

argument that regression analysis is “unreliable” or “unscientific.” See Phillip E.

Areeda & Herbert Hovenkamp, Antitrust Law: An Analysis of Antitrust Principles

and Their Application ¶ 399 (5th ed. 2020) (“If an expert witness uses regression

analysis in estimating antitrust damages, one can hardly claim that the methodology

is unreliable and therefore the expert's testimony should not be excluded on Daubert

grounds.”). Indeed, even challenges to an expert’s choice of variables “is normally a

question that goes to the probative weight of the analysis rather than to its

admissibility.” Manpower, 732 F.3d at 808 (citing Bazemore v. Friday, 478 U.S. 385,

400 (1986) (reversing lower court’s exclusion of regression analysis based on its view

that the analysis did not include proper selection of variables)).

      Mangum uses the following independent variables in his regression analysis:

(1) the cost of dressed meat; (2) real disposable personal income; and (3) a variable to

account for seasonal changes in production. See R. 3985-8 at 76-77 (¶¶ 148-49). His

analysis showed that “the model explains 84 percent of the variation in [Broiler]

production by the variables included in the model.” Id. at 77 (¶ 148). From this he

concluded that Broiler “production levels in these time periods were lower as a result



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of the alleged conspiracy than they would have been in the absence of the alleged

conspiracy.” Id. at 78 (¶ 149). Specifically, he found that production levels were 4.8

percent lower in the period January 2009 through November 2011, and 7.4 lower in

the period December 2011 through July 2019. Id.

      Defendants make much of the fact that Mangum’s result for real disposable

personal income was “statistically insignificant.” R. 5624 at 58:1-5 (Defendants’

opening statement); R. 5625 at 544:25–545:1 (Defendants’ closing argument); R.

4234-1 at 67 (¶ 108); R. 4268 at 7. Defendants imply this means that Mangum

concluded that personal income, and hence demand, had no effect on the supply of

Broilers. See R. 5625 at 545:1 (“He breaks the law of supply and demand.”). But that

is not what that number means. Of course, personal income affected the supply of

Broilers. At least, Mangum assumes that it did by including it as a variable in his

regression analysis. The statistical “insignificance” is only with respect to the

decrease on Broiler production. In other words, Mangum’s analysis shows that any

change in personal income during the class period was a relatively insignificant cause

of the production decrease. Other factors, i.e., production costs, seasonality, and as

Mangum concludes, the alleged conspiracy, had greater significance. And in his reply

report, Mangum explains that the statistical significance of income is likely masked

by the “correlation between real [disposable personal income] and the time-trend

variable.” R. 4493-3 at 39 (¶ 58). In other words, both income and seasonality account

for demand, and having two demand variables can distort their relative significance.




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This might be relevant to the evidentiary weight of Mangum’s testimony, but it is not

a reason to question the reliability of his method.

                    c.     Additional Evidence – Sunding

      Instead of an econometric analysis like Carter’s structural break test or

Mangum’s regression analysis, the End Users’ expert, Dr. David L. Sunding,

identified the class period by evaluating quantitative evidence relevant to Broiler

supply. He notes that the two largest Broiler producers, Pilgrim’s and Tyson, made

significant production cuts starting in 2009. See R. 3971-4 at 48-50 (¶¶ 91-92). He

also notes that Pilgrim’s and Tyson slaughtered their breeder hens earlier than usual,

making it more difficult to ramp up production after it had been cut. See id. at 50-53

(¶¶ 93-95). These production cuts resulted in a jump in profits for the industry. See

id. at 53-57 (¶¶ 96-101); id. at 54 (Figure 12). Lastly, he notes that the egg industry,

which is subject to many of the same market factors as Broilers, did not experience

the same dramatic production decrease in the 2008-09 period as Broilers. Moreover,

when the egg industry experienced a shock due to avian flu in 2015, it revived much

more quickly than the Broiler industry did after 2009. See id. at 57-61 (¶¶ 102-08).

According to Sunding, this “is a striking contrast from the ten years that it took for

breeder flocks in the chicken industry to return to 2008 levels.” Id. at 61 (¶ 108).

                                 *      *        *    *

      Carter, Mangum, and Sunding each take different approaches to identifying

and analyzing the significance of the production decrease that occurred beginning in

2009. Carter and Mangum perform econometric analyses, while Sunding does not.



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Mangum and Sunding conclude that the evidence demonstrates that the production

decreases were the result of a conspiracy among Defendants, whereas Carter’s

method addresses potential causes in a later step, to be discussed below. In any event,

all three expert opinions are sufficient evidence that Broiler production decreased to

an extent contrary to market indicators. And that evidence is common to each class.

             2.     Price Increase

      Having established that Broiler production decreased to an extent contrary to

market indicators, Plaintiffs’ experts next investigate the affect this decrease in

supply had on price and whether there is evidence that a conspiracy among

Defendants caused prices to increase. All three experts employ pooled regression

analyses, meaning they analyze prices across: (i) many defendants and buyers, (ii)

various Broiler products, and (iii) years of the class period. Courts have held that a

pooled regression analysis can be an appropriate tool to demonstrate “class-wide

impact even when the market involves diversity in products, marketing, and prices.”

See Olean Wholesale Grocery Coop., Inc. v. Bumble Bee Foods LLC, 31 F.4th 651, 678

(9th Cir. 2022) (citing In re Urethane Antitrust Litig., 768 F.3d 1245, 1254 (10th Cir.

2014)).

                    a.    Pooled Regression Analysis – “But For” Price

      All three Plaintiffs’ experts conducted regression analyses of Broiler price and

relevant market factors, including: (1) costs (feed, transportation); (2) the prices of

beef and/or pork, to account for relative demand; and (4) the U.S. unemployment rate

and/or real disposable personal income, also to account for demand. See R. 3990-122



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at 110-12 (¶ 183) (Carter); R 3985-8 at 116 (¶¶ 209-10) (Mangum); R. 3971-4 at 98-

100 (¶¶ 206-10) (Sunding). These analyses involved developing an equation

describing the relationship between price and the market factors during the

benchmark period of 2000-08. See R. 3990-122 at 101 (“The damages model compares

prices for meat derived from broilers during the alleged Class Period relative to a

benchmark period (i.e., the time period before the collusive conduct was fully

operational).”) (Carter); R. 3985-8 at 112 (¶ 198) (Mangum); R. 3971-4 at 91-92 (¶

193) (Sunding). This equation also includes a “dummy” variable to account for

collusive conduct during the class period. See R. 3990-122 at 110 (¶ 181); R. 3985-8

at 138 (¶ 251); R. 3971-4 at 91-92 (¶ 193). Plugging in known prices and market factor

data from the class period and running the regression equation to solve for the

dummy variable allows the experts to calculate the portion of price not accounted for

by the market factors. In the experts’ opinions, the evidence suggests that this portion

of the price is due to collusion among Defendants.

      All three experts conducted their analyses with respect to the price of whole

Broilers. In addition, Mangum analyzed the prices of Broiler breasts and wings, and

Sunding analyzed wings. All three experts believe that the price of whole Broilers is

most representative of the market because all Broiler products originate from a whole

Broiler. All of their calculations, whether for whole birds, breasts, or wings, are

focused on the market price and so calculate damages for the market as a whole. See

R. 4505 at 10 (Carter) (“my model is measuring the relationship between the ‘market-

wide’ equilibrium price of broilers and ‘market-wide’ supply and demand factors”); R.



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4493-3 at 44 (¶ 67) (Mangum) (“[I]t is appropriate to evaluate production at the

industry level rather than at the individual Defendant level. . . . In the case of a

commodity product such as broiler chicken where there is very little or no product

differentiation across producers, the price that a producer can charge will depend on

the total demand for and supply of broilers in the market.”); R. 4487-3 at 12 (¶ 24)

(Sunding) (“I use my whole bird overcharge of 13% as the best measure of the market

wide elevation to prices.”). The experts calculated the following overcharges during

the class period:

                                  Carter   Mangum   Mangum    Mangum   Sunding   Sunding
            Period                Whole     Whole   Breasts    Wings    Whole    Breasts
                                  Birds     Birds                       Birds

 Dec. 2008 – Oct. 2011 (Carter)   11.8%     5.5%     4.1%     16.1%      n/a       n/a
Jan 2009 – Nov. 2011 (Mangum)


 Nov. 2011 – July 2019 (Carter)
Dec. 2011 – July 2019 (Mangum)    22.3%    10.6%     17.1%    32.6%    13.5%     17.0%
Jan. 2012 – July 2019 (Sunding)



R. 5636-6 at 19 (End Users closing argument slides).

                     b.     Common Impact

      The experts also show that this impact on the market price likely affected all

direct purchasers of Broilers, each taking a different approach. Using the results of

his regression analysis, Carter calculated what the market price of whole Broilers

should have been “but for” the alleged conspiracy. He then compared this price to

each of the 3,222,732 Broiler transactions during the class period Carter included in

his model. See R. 3990-12 at 14 (¶ 17). He found that “93.4% of customers [had at

least one transaction for which they] paid an actual price exceeding the but-for

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predicted price.” R. 3990-122 at 115. And this 93.4% of customers accounted for

99.95% of total purchases during the class period. Id.

      In addition to examining the but-for price for specific transactions, Carter used

the benchmark period data to predict what the market price should have been during

the class period. He compared actual prices from the class period to the calculated

but-for market price and found that 97.1% of customers paid an actual price that

exceeded the but-for price at least once. From these results, Carter concludes that “all

named Direct Purchaser Plaintiffs are determined to have been impacted by the

conspiracy.” R. 3990-122 at 116.

      Rather than compare the “but for” price to actual prices, Mangum evaluated

Broiler market characteristics to conclude that an artificially high price would have

been experienced by all direct purchasers. Fundamentally, Mangum notes that “the

commodity nature of broiler products” means that “market prices depend on total

industry supply,” which in turn means that “the prices for every customer that is

based on these market price indices . . . increases.” R. 3985-8 at 79-80 (¶¶ 152, 155).

      Mangum then examined actual prices during the benchmark and class periods

to show that prices were consistent across a variety of variables. He found that the

actual prices paid mirrored the major price indices, see id. at 87-88 (charts), and that

the prices charged by each defendant moved together over time, see id. at 92-94

(charts). He also found that prices were consistent across geographic regions, see id.

at 96-98 (charts), and across the top 50 buyers, see id. at 99-101 (charts). Based on




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this data, Mangum concluded that any increase in the market price would impact the

prices paid by “all or nearly all” buyers. See id. at 78 (¶ 151).

      Sunding’s approach to analyzing common impact is similar to Mangum’s. Like

Mangum, Sunding’s analysis begins with the conclusion that Broilers are a

commodity product. See R. 3971-4 at 120 (¶ 252) (“A breast from one processor’s tray

pack of boneless skinless breasts would be indistinguishable from such a breast from

another processor.”); see also id. at 120-21 (¶ 253 & n.400) (all the Broiler meat sold

in the United States is genetically nearly identical). “Because chicken is a commodity

product, economic theory predicts that conduct that would increase the price of the

chicken products by certain producers would have similar effects across all

producers.” Id. Finally, Sunding concludes that there “is no reason to believe, as a

matter of economic theory, that the prices of any product directly derived from

chickens and produced by the defendants would not be impacted by a reduction in

supply of the only material input, chicken.” Id. at 130 (¶ 274).

                    c.     Defendants’ Objections – Analysis of Prices

      Defendants rely primarily on the analysis of their expert, Johnson, to criticize

Plaintiffs’ experts’ findings that prices were higher than they should have been

during the class period. Johnson’s attacks on the experts’ opinions boil down to

challenging the idea that Broilers function as a commodity product. But Defendants

and Johnson do not challenge Plaintiffs’ allegation that there is no material difference

between the Broiler meat sold by any defendant, or the fact that all Broiler meat sold

in the United States is genetically nearly identical. Rather, Johnson insists that



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different Broiler products (e.g., breasts, wings, frozen or not, etc.) sold by different

producers to different customers cannot be compared because of the different prices

of the products, the differing market share of producers, and the different bargaining

power of various customers. See, e.g., R. 4209-1 at 16-17 (¶ 27) (Carter’s analysis

“masks important individualized variation across the proposed DPP class. Dr. Carter

appears to acknowledge the limitations of his model for showing impact to all (or

nearly all) direct purchasers.”). As Carter puts it in responding to Johnson’s report,

“Johnson is essentially claiming that every Defendant is selling a different product.”

R. 4505 at 57 (¶ 105).

      True, Broiler meat is sold in a variety of forms with varying prices. So perhaps

there is merit to Johnson’s perspective. But as Carter points out, all Broiler products

of course come from Broilers. It is impossible to produce wing meat without also

producing breast meat, and vice versa. See R. 3990-122 at 96 (¶ 152) (“The economics

always come back to the fact that integrators can only produce whole broilers; then

they must attempt to maximize profits by selling all of the parts of the whole bird.”).

Because all Broiler products are produced together, any reduction in supply of

Broilers will necessarily decrease the supply of all the products derived from Broilers.

Further, Carter’s opinion is supported by deposition testimony from the defendant

producers’ CEOs stating that they make production and pricing decisions based the

market’s “whole bird value.” See id. at 96-99 (¶¶ 153-57). To the extent that the

varying prices of different Broiler products limits the ability of the alleged conspiracy

to control prices, that is a question of fact to be examined at summary judgment or



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trial. It is not a reason to find any of the experts’ opinions unreliable or to deny class

certification.

       Defendants make a related argument with regard to different “bird sizes.” See,

e.g., R. 4234 at 32-33. But just as Carter shows that the pricing of Broiler parts moves

in step with the pricing of whole Broilers, the pricing of different size Broilers also

move together. See R. 4493-3 at 111-13. Defendants contend that certain customers

prefer different size Broilers for various reasons. But Defendants have presented no

evidence that these preferences alter the commodity nature of the Broiler market or

the effect the price of whole birds has on the market as a whole. And Mangum’s

analysis showed that the prices for whole birds, breasts, and wings were substantially

similar across bird sizes, and to the extent they differed they moved together over

time. See R. 4493-3 at 111-13 (Figures 35-37).

       Moreover, to the extent Carter’s analysis of “whole bird value” is insufficiently

granular, Mangum and Sunding performed regression analyses of the price of certain

Broiler parts. Mangum analyzed wings and breasts in addition to whole birds,

whereas Sunding analyzed breasts and whole birds. Both Mangum and Sunding also

find overcharges during the class period for whole bird and breast products, and

Mangum found overcharges for wing products as well. See R. 3990-122 at 118-23 (¶¶

214-19); R. 3971-4 at 114-18 (¶¶ 242-47).

       Johnson believes, however, that even breaking down the price analysis to the

level of breasts and wings is insufficient to show whether increased prices caused

common impact for each class. In his opinion, additional granularity is necessary



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considering the variety of producers, products, and customers in the market, as well

as the length of the class period. He argues that his more granular calculations show

that prices did not increase for all categories of transactions during the class period,

so Plaintiffs cannot show that all Plaintiffs suffered a price increase, and thus it is

not possible to show common impact across each class.

      With respect to Carter’s model in particular, Johnson argues it is unreliable

because it ignores the true variety in the Broiler market and instead assumes that

“all 54 direct purchasers that bought this product would have paid the same price at

a given point in time.” R. 4209-1 at 16 (¶ 26). As Carter says in response to Johnson,

“this is entirely false.” R. 4505 at 103 (¶ 182). The Court agrees that it is a simplistic

misrepresentation of Carter’s analysis. Never does Carter assume that the same price

was paid for Broiler meat across various products, producers, buyers, and time

periods. Rather, Carter’s “model measures the relationship between the market-wide

equilibrium price of broilers and market supply and demand factors.” R. 4505 at 57-

58 (¶ 106). This method of analysis “is not dependent on individual Defendants selling

individual parts to individual customers.” Id. Instead it is an analysis of the market

price, based on market supply and demand. As Carter puts it, “the market-wide

equilibrium is the sum of all transactions taking place at the same time. What is

observed in the transactions data is determined by the aggregation of individual

demand and supply functions.” R. 4505 at 57-58 (¶ 106). This is a common and

straightforward analysis that takes into account the fact that a market consists of

many individual and distinct transactions. Certainly, each transaction has its own



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price. But as discussed, Defendants’ executives look to the market price of whole

Broilers to determine what the price for a specific deal should be. That is why a focus

on the market price is a reasonable way to demonstrate common impact of an alleged

conspiracy to reduce supply. Mangum and Sunding agree that this is the proper

perspective from which to view the case. See R. 4493-3 at 73 (“Even prices that are

not explicitly based on Urner Barry or Georgia Dock will still be influenced by the

same market factors because the prices associated with fixed priced contracts and the

margins associated with cost-plus contracts will be negotiated in reference to market

prices.”); 10 R. 4487-3 at 96 (¶ 152) (“[D]espite the fact that each customer paid a

different price simultaneously for the identical product, each customer would have

paid less for that product in the but-for world. The same dynamic is true . . .

regardless [of] the ‘starting [price] point’ for the negotiation [because that starting

point is] determined by the balance of market-wide supply and demand.”).

      Defendants oppose this argument by citing cases in which courts have found a

lack of predominance because the plaintiffs’ proof of injury was based on an expert’s

calculation of a “but for” “average” price. See, e.g., In re Lamictal Direct Purchaser

Antitrust Litig., 957 F.3d 184, 193 (3d Cir. 2020) (rejecting a statistical model that

“relies on an average hypothetical price” thereby failing “to account for individual

negotiations or the effect of [the defendant manufacturer’s] Contracting Strategy on

each Direct Purchaser”). The experts’ opinions in this case, however, are not merely



10Urner Barry and Georgia Dock are two of the primary Broiler price indices. Part of
Plaintiffs’ allegations are that some Defendants conspired to manipulate the Georgia
Dock index by submitting falsely inflated price reports.
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based on “averages” of individually negotiated sales. Like many product markets, the

Broiler market involves individual negotiations. But the evidence shows that those

negotiations take place in the context of a “market price.” The market price of Broilers

has a significant effect on negotiations. Indeed, it is the starting point. The experts’

analyses show that in the context of a commodity market in which the participants

are aware of and act according to the market price, it is possible to show common

injury to the class with evidence that the market price was manipulated through

collusive supply reduction. This is a fundamentally different analysis than simply

averaging the prices of individual negotiated sales. 11

      Even if Johnson is correct that the proper analysis is to “unpool” Plaintiffs’

experts’ market price analyses and drill down on more specific transactions,

Johnson’s analysis finds that only 16.1% of the class paid prices for Broilers lower

than Carter’s predicted “but for” price. See R. 4209-1 at 17 (¶ 29). Johnson believes



11The facts of the Lamictal case in particular show that it has little relevance here.
That case concerned the pending expiration of a pharmaceutical patent and a
settlement agreement between the manufacturer that owned the patent and a
potential generic manufacturer. The agreement had the effect of decreasing the
availability of generic versions of the pharmaceutical. The market was characterized
by individual sales to direct purchasers, priced through individual negotiations.
These isolated transactions for a sophisticated chemical product bear little
resemblance to the daily commodity market for a basic food product like Broilers. The
other cases Defendants cite also concern markets bearing little resemblance to the
market for Broilers. See, e.g., In re Aluminum Warehousing Antitrust Litig., 336
F.R.D. 5, 56 (S.D.N.Y. 2020) (claim that aluminum producers restricted supply by
intentionally complicating the administrative processes to dispatch aluminum from
warehouses for individual shipments); Reed v. Advoc. Health Care, 268 F.R.D. 573,
577 (N.D. Ill. 2009) (allegation that hospitals conspired to suppress wages for nurses);
Exhaust Unlimited, Inc. v. Cintas Corp., 223 F.R.D. 506, 508 (S.D. Ill. 2004) (claim
that uniform rental and laundry companies conspired to charge customers sham
“environmental” fees).
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this shows that the alleged conspiracy did not have common impact on the class. But

the converse of this number is, of course, that 83.9% of the class did pay supra-

competitive prices. Thus, it appears that even when Johnson “unpools” Carter’s

analysis it is still sufficient to establish common impact for purposes of certifying a

class.

         Similarly, Defendants attack the Indirects’ motion by applying Johnson’s

“unpooling” analysis to Mangum’s conclusions. Like Carter, Mangum conducted a

regression analysis of the market price for Broilers showing that it was increased by

a conspiracy among Defendants to reduce supply. Johnson argues that when

Mangum’s models are “unpooled” and “applied to different customers” they “show no

overcharges on $37 billion in sales . . . to direct purchasers.” R. 4234 at 34 ($37 billion

was 35% of sales). Johnson reached this conclusion by adding coefficients (or

variables) to Mangum’s equations. The additional coefficients represented each

defendant for each year of the alleged conspiracy period, resulting in hundreds of

additional variables. See R. 4493-3 at 137 (¶ 222). According to Mangum, in his

response to Johnson, when these additional variables are added to his regression

equation, “the model cannot distinguish the effect of the overcharges with the effects

of the other explanatory variables.” R. 4493-3 at 139. Presumably, this is because the

other independent variables, such as feed costs and transportation costs, can be

unique to each defendant at any given point in time, thereby producing inconsistent

results regarding whether any given defendant was charging supracompetative

prices.



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      In any event, as Mangum explains, this is a problem known as

“multicollinearity,” see R. 4493-3 at 139, which the Seventh Circuit has noted is

difficult for judges not trained as statisticians to address. See In re High Fructose

Corn Syrup Antitrust Litig., 295 F.3d 651, 660 (7th Cir. 2002). The Seventh Circuit

has also explained, however, that the presence of disputes about multicollinearity

and its potential solutions indicate that “the plaintiffs have presented some

admissible evidence that higher prices during the period of the alleged conspiracy

cannot be fully explained by causes consistent with active competition, such as

changes in the price of corn.” Id. That finding supports Plaintiffs’ motion here.

      Furthermore, Johnson himself seems to question the reliability of his own

method, testifying that it produces “ridiculous outcomes.” Johnson Deposition, Vol. 1,

Mar. 23, 2021, at 212:13. For example, the prices for Broiler breast meat charged by

defendants Perdue and House of Raeford followed relatively similar trajectories over

the course of the class period:




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R. 4493-3 at 138 (Figure 48) (Mangum rebuttal report). But according to Johnson’s

“unpooled” regression analysis, Perdue’s prices were 42% below the market price and

House of Raeford’s prices were as much as 115% above market price. As Mangum

explains, a model that produces such divergent conclusions regarding similar data is

unreasonable and unreliable, and it should not serve as a basis to conclude that

Plaintiffs’ experts’ opinions are insufficient evidence to demonstrate class-wide

impact and support class certification. See R. 4493-3 at 138-39 (¶¶ 224-26). 12

      At bottom, Plaintiffs’ experts argue that Johnson’s calculations suffer from

sample sizes that are too small. But regardless of whether the sample sizes are too

small as a matter of econometric theory, at a more fundamental level Johnson’s

calculations do not appear to fit Plaintiffs’ claims as the claims are not about such

narrow swaths of transactions. Of course, the Broiler market is comprised of a large

variety of transactions, at varying prices. But the existence of specific transactions

does not necessarily undermine Plaintiffs’ theory that those transactions took place

in the context of a market price that affected the outcome of all the downstream

transactions in a common manner. Plaintiffs’ experts have shown that there is

statistical evidence that the market price increased because of collusive conduct by

Defendants, and that this statistical evidence is common to each of the classes.


12 As noted earlier, Defendants also rely on this aspect of Johnson’s opinion to argue
that the Indirects’ class definition “sweeps in a great many class members that were
demonstrably unharmed” and thus is “fatally overbroad.” R. 4234 at 52. They make
a similar argument specifically with respect to Publix grocery and the Consumer class
definition. See R. 4213 at 52. The Court rejects these arguments because, as
discussed, the Johnson’s unpooling analysis does not appear to produce an accurate
picture of the market.

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Defendants’ arguments, based on Johnson’s opinions, question whether this is the

correct way to model the Broiler market. Defendants’ couch this argument in terms

of “reliability,” but they do not actually question the reliability of Plaintiffs’ experts’

methods or data. Defendants merely disagree with Plaintiffs’ perspective. In other

words, from Plaintiffs’ perspective, Johnson’s calculations miss the forest for the

trees, whereas Defendants argue that the forest can only be properly understood by

examining the trees. Neither is necessarily incorrect in an economic sense, and the

choice between them is a matter of perspective. In litigation, such a dispute is factual

and is resolved at summary judgment or trial. It is not a reason to exclude either

perspective or deny class certification.

                     d.     Defendants’ Objections – Profit Margins

       However, even taking Plaintiffs’ experts’ “but for” price calculations at face

value, Johnson contends they are so low that they would have put the Broiler industry

out of business, and must be rejected for that reason. With respect to Carter’s model,

this contention is based on Johnson subtracting Carter’s “but for” price from the

industry’s profit margin during the class period (recorded in cents per pound), and

concluding that the resulting profit margins were almost always in the negative. See

R. 4209-1 at 14.

       As Carter explains in his rebuttal report, the glaring problem with Johnson’s

calculation and argument is that Carter’s “but for” price assumes an absence of a

conspiracy to reduce supply and its corresponding price increase. In other words,

Carter’s predicted lower price is based on an assumed increase in production. With



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an increase in production, the fixed costs per pound would decrease, thereby

increasing the profit margin per pound. Thus, simply subtracting a predicted price

from the actual profit margin, as Johnson does, is not a sound method of analysis. See

R. 4505 at 111-15 (¶ 194-201).

      Moreover, Carter responded to Johnson’s criticism with analysis of his own

based on Broiler operating margin data reported by the U.S. Department of

Agriculture. According to Carter, his “but for” price does not cause the industry profit

margin to drop below zero during the class period. See R. 4505 at 113-14 (¶ 200)

(Figure 22). Again, this is a battle of the experts that is not a reason to reject Carter’s

analysis or deny certification.

      Johnson also argued that Sunding’s analysis resulted in a negative profit

margin for much of the class period. See R. 4209-1 at 197-98 (¶¶ 250-51). But like

Carter, Sunding points out faults in Johnson’s analysis. Sunding explains that

Broiler profits are derived not just from the parts of the bird he studied, but also dark

meat, bones, and offal. In other words, Broilers provide sources of profit such that

only the price for whole birds reflects all sources of profit in the industry.

      Sunding’s recalculation of “but for” profit margin still includes periods of

negative profitability. See R. 4487-3 at 46 (Figure 5). But notably, historical data from

the benchmark period shows that the industry has suffered periods of negative

margins in the past. Johnson points out that Sunding’s calculations reveal longer and

deeper periods of industry losses and suggests that this means Sunding’s calculation

are unrealistic and unreliable. See R. 4725-9 at 58 (¶ 102). This argument, however,



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is an implicit concession that periods of negative profit margins are not foreign to the

industry. The mere fact that Plaintiffs’ experts’ “but for” prices predict negative profit

margins is not a basis to reject their opinions as unreliable. Whether Plaintiffs’

models anticipate profit margins that are so low and for so long as to be unlikely is a

question of fact that does not need to be decided now.

                    e.     Defendants’ Objections – The Perfect Storm

      In general, Johnson argues that the more likely cause of the supply reduction

during the class period is the combined effect of increased corn prices and the Great

Recession, which Johnson dubs the “perfect poultry storm.” Johnson’s opinion,

however, ignores the fact that Plaintiffs’ experts take the cost of corn feed and levels

of demand into account in their analyses. It also ignores historic market data which

shows that Broiler production has been largely immune to both corn prices and




fluctuations in the economy (see the chart above). See R. 4505 at 74. True, the first

part of the class period occurred during the Great Recession and during an increase

in corn prices. But the previous four recessions did not cause a decrease in Broiler


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production, and corn prices were just coming off an all-time low. Broiler production

has steadily increased against a back-drop of up and down corn prices. This is likely

because, as Carter points out, Broiler producers are experienced at hedging corn

prices. See R. 4505 at 76 (¶¶ 133-34).

      At bottom, to the extent Johnson has created alternative economic models

showing that the price increase was not caused by a conspiracy, the choice to accept

Plaintiffs’ experts’ or Johnson’s models of alternatives is a question better suited to

summary judgment or trial. It may not be unreasonable to conclude that Johnson’s

model is more reliable than Plaintiffs’ experts’ (Plaintiffs have not moved to exclude

Johnson’s opinions), but it does not show that Plaintiffs’ experts’ models are so

unreliable that any of them should be excluded from the case. Furthermore, Johnson

uses the same data to reach his conclusions as Plaintiffs’ experts—Defendants’ sales

data and data regarding supply and demand in the Broiler market. Johnson argues

that the Broiler market is too differentiated to establish that a conspiracy to reduce

supply would similarly impact the class of end users. But the evidence used to show

this is common to the class. Johnson’s opinion might be sufficient evidence for

Defendants to avoid liability. But it is not sufficient to so undermine Plaintiffs’

experts’ opinions that they should be excluded, or to deny class certification.

                    f.    Pass-Through to the Indirects

      In addition to showing that direct purchasers paid increased market prices,

the Indirects must show that these increased prices were passed on to them. See

Supreme Auto Transp., LLC v. Arcelor Mittal USA, Inc., 902 F.3d 735, 743-44 (7th



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Cir. 2018). This burden is easily met here because representatives of the direct

purchasers testified that they always pass on costs. See R. 3985 at 26-27 (citing

deposition testimony); R. 4493-1 at 6-7 (citing deposition testimony).

      For some products, calculation of pass-through damages can be complicated

because the product at issue is incorporated into a different product before being sold

to indirect purchasers and consumers. But those potential complications of pass-

through damages are not present here because the product at issue is unprocessed,

ready-to-cook Broiler meat. The Broiler products purchased by the Indirects from the

Directs are the same products the Directs purchase from Defendants. The Directs

profit by adding a mark-up to the price they pay Defendants. If the Directs did not

pass on any price increase imposed by Defendants, the Directs would quickly become

unprofitable. Cases in which the direct purchasers process a raw material, or

incorporate a component into a more complicated product, pose more difficult issues

of proof. Such issues are not present here. And simple charts of certain large direct

purchasers’ purchase prices (Sysco, US Foods, Colorado Boxed Beef) compared to sale

prices show that sale prices track the purchase price, indicating that the purchase

price is passed on through the sale price:




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R. 3985-8 at 134-35 (Figures 48-50).

      Mangum confirmed this straightforward evidence that the Directs passed on

over-charges to the Indirects with a regression analysis. That analysis showed a pass-

through rate of about 96 percent. See R. 3985-8 at 138 (¶ 250).

      Johnson criticizes Mangum for analyzing only 22 of 540 direct purchasers. But

those 22 direct purchasers account for 65% of sales. See R. 4493-3 at 149-50. Johnson

argues that Mangum’s analysis does not account for the fact that the Broiler

distribution chain can involve more than one distributor before ending with a member

of the Indirect class. But Mangum’s analysis included some entities that purchase

from direct purchasers and then resell to other distributors. His findings regarding

pass-through percentage apply to all stages in the distribution chain. See R. 4493-3

at 152.



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      Johnson performs a similar “unpooling” or “disaggregation” analysis to

Mangum’s pass-through regression analysis, and argues that it shows pass-through

rates much lower than the 96% in Mangum’s conclusion. The lowest pass-through

rate specifically identified by Johnson is 57%. See R. 4234-2 at 305. To the extent

Johnson’s analysis is sound, a 57% pass-through rate is still sufficiently significant

to demonstrate damages.

             3.    Damages

      In one sentence at the end of their brief opposing the Directs’ motion,

Defendants argue that “individual inquiries into the damages each class member

incurred would be required and predominate over issues common to the class.” R.

4209 at 60. Earlier in their brief, Defendants quote the Supreme Court’s decision in

Comcast as holding “damages must be measurable on a class-wide basis.” To the

extent Defendants contend that by this statement the Supreme Court meant that the

need to allocate total damages among class members individually prohibits

certification, the Seventh Circuit has held otherwise. The Seventh Circuit has

explained that “all Comcast said” on this issue is that “the damages theory must

correspond to the theory of liability.” Kleen, 831 F.3d at 929. But as long as “the

aggregate classwide damages is something that can be handled most efficiently as a

class action,” then “the allocation of that total sum among the class members can be

managed individually” without undermining predominance or superiority. Id.

       In their briefs opposing the Indirects’ and End Users’ motions, Defendants

devote more pages to their argument that Plaintiffs “have not offered a reliable



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method of showing class-wide damages through common proof.” R. 4234 at 42-45; see

also R. 4213 at 38-39. This argument is based on the same observations about

“variability” in the Broiler market, which Defendants argue undermines

predominance; arguments the Court has rejected.

      Defendants also argue that, even if Plaintiffs can demonstrate aggregate

classwide damages, Plaintiffs fail to propose “an accurate ‘method for calculating

their individualized damages other than having hundreds, or even thousands, of

individualized hearings.’” R. 4234 at 43 (quoting Dailey v. Groupon, Inc., 2014 WL

4379232, at *9 (N.D. Ill. Aug. 27, 2014)); see also R. 4213 at 39. But Plaintiffs’ experts

have offered methods of calculating the “but for” price for Broilers during the class

period. Those methods can be used to identify sales at supracompetative prices and

the associated damages. Indeed, the Court has considered and approved methods for

apportioning class settlements that should also be effective at apportioning any

damages awarded by a verdict. See R. 5304 (final approval order of settlement

between End-Users and defendants Fieldale, George’s, Mar-Jac, Pilgrim’s, and

Tyson); R. 5248 (motion for final settlement approval describing distribution process).

Perhaps more detailed calculations will be required for each individual plaintiff. But

this is hardly the effort associated with “having hundreds, or even thousands, of

individualized hearings.” If Defendants are found liable, and the parties continue to

dispute the appropriate methods for calculating damages, those disputes can be

resolved by the Court, a mediator, or a special master. The resulting methods can be

applied across all plaintiffs, and damages will be a function of the number of



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purchases, which are already known. This is not so arduous a process as to prohibit

class certification.

                                  *      *        *   *

       For these reasons, the Court finds the opinions of Carter, Mangum, and

Sunding are based on reliable methods and data, and therefore should not be

excluded. The Court also finds that Plaintiffs’ experts have demonstrated that

common impact can be shown with common evidence. Accordingly, the Court finds

further that the Plaintiffs have demonstrated that common questions of law and fact

predominate in this case.

III.   Superiority

       Finally, class treatment of Plaintiffs’ claims is superior to joinder of individual

claims. The Court does not perceive there to be another “available method” to address

Plaintiffs’ claims that is superior to certifying a class. See Mullins v. Direct Digital,

LLC, 795 F.3d 654, 664 (7th Cir. 2015).

       A.     Variations in State Law

       Defendants question the superiority of class treatment for the Indirects and

End Users because of what they characterize as “substantive variations in the many

state laws governing their claims.” R. 4234 at 45; R. 4213 at 41. But Defendants’

discussion of any such differences is entirely general. Defendants do not identify any

difference among the state laws at issue that are relevant to the price fixing claim in

this case.




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      The three issues Defendants characterize as “variations” in state law are

irrelevant here. Defendants point out that some states require intrastate activity in

addition to interstate activity. See R. 4234 at 46; R. 4213 at 44. But as this Court has

found, “[i]n light of the obvious fact that Broilers are purchases in substantial

numbers throughout the United States, [the] allegations plausibly establish

‘substantial’ intrastate effects.” R. 541 at 79 (In re Broiler Chicken, 290 F. Supp. 3d

at 816).

      Defendants also argue that some states’ laws give different treatment to the

pass-through defense. See R. 4234 at 47; R. 4213 at 44-45. But this is irrelevant to

the Indirects because the Indirects class is defined to include only purchases for “use

in commercial food preparation,” and to exclude “purchases of Broilers for resale.” To

the extent any state recognizes a pass-through defense, sharing of costs by consumers

within the same household is not what the defense is concerned with.

      Defendants argue further about the effect of different states’ varying statutes

of limitations. See R. 4324 at 47; R. 4213 at 45. But this is only relevant to the extent

of damages and can be easily addressed by excluding sales outside the relevant

periods.

      In addition to state antitrust laws, Defendants contend that differences in

state consumer protection and unjust enrichment laws make certification of the

Indirects class inappropriate. See R. 4234 at 48-49; R. 4213 at 45-46. But the

differences in consumer protection laws concerning reliance and intent are simply not

relevant to a price-fixing claim. Similarly, any state where the unjust enrichment



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claim is the primary basis for recovery will be satisfied by proof of a Sherman Act

violation. Defendants do not argue otherwise.

      B.     Ascertainability

      In the Seventh Circuit, certification of a class requires that the class definition

be sufficiently definite so “that the class can be ascertained.” See Mullins, 795 F.3d

at 659. Defendants do not argue that the class definitions in this case are vague, or

subjective, or “defined in terms of success on the merits”—the three primary examples

of unascertainable class definitions. See id. at 659-61. And the Court has already

addressed and rejected Defendants’ arguments that the classes include uninjured

members.

      But Defendants also look into the future and argue that, should they lose on

the merits, the End Users class is so large and unmanageable that the Court will be

unable to actually “ascertain” the injured individuals who qualify under the class

definition without “multiple individualized inquiries.” R. 4213 at 54. In other words,

Defendants insist that Plaintiffs are required to demonstrate “that there is a reliable

and administratively feasible way to identify all who fall within the class definition.”

Mullins, 795 F.3d at 657. The Seventh Circuit, however, has held that Rule 23 does

not impose such a requirement. And the potential that the Court will be forced to

identify class members “by affidavits from the putative class members,” as the parties

suggest here, is not a basis to deny certification. See id. at 661. It is a process the

Court has contemplated and approved with respect to class settlements that have

already occurred in this case.



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                                   Conclusion

      Therefore, Plaintiffs’ motions to certify classes of direct purchasers [3962],

indirect purchasers [3968], and end user consumers [3971] are granted, and

Defendants’ motions to exclude the opinions of Carter [4272], Mangum [4262], and

Sunding [4281] are denied.

      Lastly, the End Users supported their motions with expert opinions from Dr.

Luis Cabral and Cameron R. Azari, Esq. Cabral offered opinions about whether Agri

Stats served to promote anticompetitive “information exchanges.” Azari offered

opinions about “whether it would be possible to identify end-user consumers who

purchased class products in grocery stores and other retailers.” While helpful, and

likely relevant to summary judgment and/or trial, the Court found their opinions

unnecessary to determining whether the Consumer class should be certified. Thus,

Defendants’ motions to exclude their testimony [4287] [4245] are denied without

prejudice.

                                                   ENTERED:


                                                   ______________________________
                                                   Honorable Thomas M. Durkin
                                                   United States District Judge

Dated: May 27, 2022




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